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ALBERT A. CIARDI, ITI, ESQUIRE Phone: 215-557-3550
ACIARDI@CIARDILAW.COM Fax: 215-557-3551

February 11, 2025

Via ECF FILING

Honorable Jerrold N. Poslusny, Jr.
Mitchell H. Cohen U.S. Courthouse
400 Cooper Street, 4th Floor
Camden, N.J. 08101

Courtroom 4C

Re: Inre Daryl Fred Heller — Case No. 25-11354

Dear Judge Poslusny:

Please be advised that my office represents Deerfield Capital, LLC. Attached please find
a courtesy copy of a Motion for Relief, Prohibit Use of Cash Collateral, Transfer Venue and
Expedited Discovery. The Movant is also filing an Application for Expedited Hearing and
Shortened Notice. We would ask for a conference with the Court to discuss scheduling a hearing
and a brief discovery period (2 weeks). The Movant has two motions for the appointment of
receiver pending for entities in which Daryl Heller has an interest and existing injunctions
against Debtor and his family members and entities for which, other than the Debtor, remain in
place. Given the allegations in the motion, the injunction orders in both PA and NY which raise
serious concerns and the appointment of a receiver over entities in which the Debtor has an
interest in Michigan and Massachusetts, early intervention by the Court is warranted.

Sincerely,

/s/ Albert A. Ciardi, ITT

Albert A. Ciardi, II

AACIII/dt
PHILADELPHIA WILMINGTON NEW JERSEY
1905 Spruce Street 1204 N. King Street 52 Haddonfield Road, Suite 1000
Philadelphia, PA 19103 Wilmington, DE 19801 Cherry Hill, NJ. 08034
Phone: (215) 557-3550 Phone: (302) 658-1100 Phone: (856) 368-2001

Fax: (215) 557-3551 Fax: (302) 658-1300 Fax: (856) 368-2002
